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                          IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS
                                   WESTERN DIVISION

UNITED STATES OF AMERICA                  )
                                          )
VS.                                       )                     NO.: 4:02CR00094 – 01 WRW
                                          )
JAMES JACKSON                             )


                    BRIEF IN SUPPORT OF MOTION TO DISMISS
           OR IN THE ALTERNATIVE PRECLUDE UNDISCLOSED EVIDENCE


          Comes now the defendant, James Jackson, by and through his attorney, Teresa

Bloodman, and for his brief in Support of Motion to Dismiss filed herein, states:


                            INTRODUCTION AND BACKGROUND

                 On or about April 21, 2009, the government filed a revocation petition against the

above named defendant. On or about May 26, 2009, the undersigned entered her appearance

herein.
                 On or about June 9, 2009, the defense filed a written motion for discovery. In this

motion the defense requested, among other things, the production of Brady materials including

but not limited to the violation report(s), revocation petition, and any and all written and verbal

complaints which comprise the allegations contained in the revocation petition.

                 On or about June 11, 2009, the government filed a response to defendant’s motion

for discovery stating that “none of the information requested by the defendant is in the custody or

control of the United States.” Prior to filing its response, the government appraised the

undersigned that the probation office possibly had the requested information concerning the

defendant’s drug test. As far as the RCA information that was requested, the government

couldn’t state for certain where that information was.


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                 To date, the government has failed to produce any of the discovery requested by

the defense. Notably, the government has failed to produce the actual allegations in which the

undersigned must have in order to provide effective assistance of counsel.



                                        STANDARD OF REVIEW

                 Brady v. Maryland, 373 U.S. 83 (1963) imposes an affirmative duty on the

government to produce the specifically requested evidence that is material to the accused

regardless of whether it constitutes direct or impeaching evidence. More to the point, in United

States v. Bryan, 868 F.2d 1032 (9th Cir. 1989), the court held that the prosecutor will be deemed

to have knowledge of and access to anything in the possession, custody, or control of any federal

agency participating in the same investigation of the defendant. In Bagley v. Lumpkin, 798 F.2d

at 1300 (cite omitted), the court noted that its task was to consider any adverse effect that the

prosecutor’s failure to respond to a discovery request might have had on the preparation or

presentation of the defendant’s case and to assess that affect in light of the totality of the

circumstances.



         THE DEFENDANT IS ENTITLED TO HAVE THE REVOCATION PETITION
            DISMISSED OR IN THE ALTERNATIVE UNDISCLOSE EVIDENCE
                                  PRECLUDED

                 The government’s obligation to disclose material information to the defense is a

fundamental component of the guarantee that criminal defendants receive fair revocation

hearings. Thus, we do not lightly excuse Brady violations. Because the government’s

nondisclosure in this case significantly impairs defense counsel’s ability to provide any degree of

effective assistance, we respectfully request that this matter be dismissed.



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               In the alternative to dismissing this matter, the defendant requests that the

government be precluded, and any and all evidence excluded, from use in any fashion, at the

revocation hearing scheduled for June 18, 2009. The defendant requests that any and all

undisclosed materials, documents, or witnesses, not disclosed to the defense be excluded

irrespective of where the same is located or stored, or whoever holds the same.

               Granting of the defendant’s requests is mandated by Rule 16 and the progeny of

case law thereunder. The defense isn’t required to escalate its own investigation to compensate

for the lack of discovery provided by the government. The duty of the government to disclose

and supplement the discoverable information cannot be compromised without the same

subverting justice.

               Denial of defendant’s request will result in a manifest injustice based upon the

prejudice which will be inherent by the advantages gained by the government’s use of

undisclosed materials, referenced herein, in the revocation hearing. The government received

full notice of the defendant’s desire for discoverable information by defendant’s proper and

timely filing of the discovery demand.



                                             CONCLUSION

               In light of the issues raised by this motion and all other arguments, the court

should dismiss this matter with prejudice. The defendant respectfully requests that this matter be

scheduled for a hearing.




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                                                     Respectfully submitted,

                                                    _/s/Teresa Bloodman_______
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                                   CERTIFICATE OF SERVICE

       I, Teresa Bloodman, do hereby certify that a true and correct copy of the foregoing
pleading was electronically filed, this 13TH day of June, 2009, with the Clerk of Court using the
CM/ECF System, which will send notification of such filing to:

Mr. John Ray White
Assistant United States Attorney
United States Attorney’s Office
P.O. Box 1229
Little Rock, AR 72203
john.white@fd.org
                                                     _/s/Teresa Bloodman______




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